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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
SK/EMR/PP/MED                                     271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  December 24, 2022

By E-mail and ECF

César de Castro, Esq.
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New York, New York 10038

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80 Broad Street, Suite 1900
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                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

                Please find enclosed a supplemental production of the government’s trial
exhibits. The government will continue to produce exhibits on a rolling basis and reserves
the right to revise the materials enclosed herein.

                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:     /s/
                                                  Saritha Komatireddy
                                                  Erin M. Reid
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cc: Clerk of Court (BMC) (via ECF)
